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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

FILED
UNITED STATES OF AMERICA ) —_NO.3:CR-09-247 SCRANTON
, SEP 02 2009
) (JUDGE KOSIK) PER
ROBERT K. MERICLE, ) BEPUTY CEe
)
Defendant. ) (ELECTRONICALLY FILED)
PLEA
g? Spb
AND NOW, this day of j , 2009, the within-
named ROBERT K. MERICLE, hereby enters a plea of to the

within Information.

“Cota We Wer
ROBERT K. MERICLE
Defendant

